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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


    MARK S. MAYER,

                       Plaintiff,

    v.                                              Case No: 6:20-cv-2283-GAP-EJK

    HOLIDAY INN CLUB VACATIONS
    INCORPORATED

                       Defendant.


                                          ORDER

          This matter is before the Court on Defendant’s Motion for Summary

    Judgment (Doc. 35). In ruling on this Motion, the Court also considered Plaintiff’s

    Response in Opposition (Doc. 51) and Defendant’s Reply (Doc. 56).

          I.    Background

          The facts in this case are largely undisputed. On September 15, 2014,

    Plaintiff Mark S. Mayer (“Mayer”) entered a timeshare agreement with Defendant

    Holiday Inn Club Vacations Incorporated (“HICV”) for a property in Cape

    Canaveral, Florida. Mayer made monthly payments from November 2014 until

    July 2017, but then ceased making payments. Mayer mailed HICV letters in

    January 2019 and November 2019 that disputed the validity of the agreement and
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    stated that Mayer was rescinding the agreement and permitting HICV to retain all

    prior payments as liquidated damages.

          In August 2019, Mayer obtained a copy of his consumer disclosure report

    from Experian Information Solutions, Inc.1 (“Experian”). The report stated that

    Mayer had an open account with HICV with a past-due balance. Mayer submitted

    letters to Experian disputing the credit report in January 2020, March 2020, and

    April 2020. The letters stated that Mayer terminated his agreement with HICV and

    that he owed no balance. Experian communicated each dispute to HICV, HICV

    certified that the information for Mayer’s account was accurate, and Experian

    communicated this response back to Mayer.

          Mayer sued HICV, claiming that it violated the Fair Credit Reporting Act

    (FCRA) when it verified the accuracy of his credit report. HICV now moves for

    summary judgment on the basis that Mayer raised a legal dispute that is not

    actionable under the FCRA.

          II.      Legal Standard

          A party is entitled to summary judgment when the party can show that

    there is no genuine issue as to any material fact and that movant is entitled to

    judgment as a matter of law. Fed. R. Civ. P. 56(c). Which facts are material




          1
              Experian was previously a defendant in this lawsuit but has been dismissed. See Doc. 58.




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    depends on the substantive law applicable to the case. Anderson v. Liberty Lobby,

    Inc., 477 U.S. 242, 248 (1986). The moving party bears the burden of showing that

    no genuine issue of material fact exists. Celotex Corp. v. Catrett, 477 U.S. 317, 323

    (1986). In determining whether the moving party has satisfied its burden, the

    court considers all inferences drawn from the underlying facts in a light most

    favorable to the party opposing the motion and resolves all reasonable doubts

    against the moving party. Anderson, 477 U.S. at 255. The court is not, however,

    required to accept all of the non-movant's factual characterizations and legal

    arguments. Beal v. Paramount Pictures Corp., 20 F.3d 454, 458–59 (11th Cir. 1994).

          When a party moving for summary judgment points out an absence of

    evidence on a dispositive issue for which the non-moving party bears the burden

    of proof at trial, the nonmoving party must "go beyond the pleadings and by [his]

    own affidavits, or by the depositions, answers to interrogatories, and admissions

    on file, designate specific facts showing that there is a genuine issue for trial."

    Celotex Corp., 477 U.S. at 324. Thereafter, summary judgment is mandated against

    the non-moving party who fails to make a showing sufficient to establish a

    genuine issue of fact for trial. Id. The party opposing a motion for summary

    judgment must rely on more than conclusory statements or allegations

    unsupported by facts. Evers v. Gen. Motors Corp., 770 F.2d 984, 986 (11th Cir. 1985)




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    ("conclusory allegations without specific supporting facts have no probative

    value”).

          III.   Analysis

          Under the FCRA a Credit Reporting Agency (“CRA”) is required, upon

    receipt of a dispute by a consumer, to investigate the accuracy of the disputed

    information. 15 U.S.C. § 1681i(a)(1)(A). As part of that investigation, the CRA must

    notify the furnisher of the disputed information of the consumer’s dispute. §

    1681i(a)(2)(A). Furnishers are prohibited from “furnish[ing] any information

    relating to a consumer to any [CRA] if the [furnisher] knows or has reasonable

    cause to believe that the information is inaccurate.” § 1681s-2(a)(1)(A). When a

    CRA notifies a furnisher of a dispute, the furnisher must investigate that dispute

    and verify, modify, or remove the disputed information. § 1681(b)(1). In this case,

    Experian (the CRA) notified HICV (the furnisher) of Mayer’s dispute, and HICV

    verified the accuracy of his account balance.

          Whether a furnisher has satisfied its burden under section 1681(b)(1) is a

    question of reasonableness. Felts v. Wells Fargo Bank, N.A., 893 F.3d 1305, 1312

    (11th Cir. 2018). “When a furnisher ends its investigation by reporting that the

    disputed information has been verified as accurate, ‘the question of whether the

    furnisher behaved reasonably will turn on whether the furnisher acquired




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    sufficient evidence to support the conclusion that the information was true.’” Id.

    (quoting Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1302 (11th Cir. 2016)).

           Mayer’s dispute was not over whether he made his payments to HICV, but

    rather, whether he was contractually required to make those payments. HICV

    argues it is entitled to summary judgment because that is inherently a legal

    dispute and is not actionable under the FCRA. The Eleventh Circuit has stated that

    “[a] plaintiff must show a factual inaccuracy rather than the existence of disputed

    legal questions to bring suit against a furnisher under § 1681s-2(b).”2 Hunt v.

    JPMorgan Chase Bank, Nat’l Ass’n, 770 F. App’x 452, 458 (11th Cir. 2019) (quoting

    Chiang v. Verizon New Eng. Inc., 595 F.3d 26, 38 (1st Cir. 2010)).

           Mayer’s dispute over whether a liquidation clause in his contract excused

    him from his payment obligations is a legal contractual dispute, not a factual issue

    that would support a FCRA claim. See Batterman v. BR Carroll Glenridge, LLC, 829

    F. App’x 478, 481 (11th Cir. 2020) (plaintiff failed to state a FCRA claim because




           2
             Mayer argues that the Court should reject Hunt and follow holdings from other circuits.
    However, although the cases that Mayer cites comment on the differences between CRAs and
    furnishers, none of them actually permit a FCRA claim based on a legal dispute to go forward
    against a furnisher. Nor do they explain when a furnisher can be held liable based on its
    interpretation of a legal dispute. Although Hunt is not a published opinion, it provides a
    workable standard and remains strong persuasive authority. Therefore, the Court declines to
    depart from that ruling absent further guidance from the Eleventh Circuit. For that same reason,
    the Court also rejects Mayer’s argument that the Court should disregard Hunt and follow the line
    of reasoning outlined by the Consumer Financial Protection Bureau in an amicus brief filed Gross
    v. CitiMortgage, Inc., No. 20-17160, in the Ninth Circuit.




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    allegations relating to the applicability of a liquidated damages provision

    involved a legal dispute, not a factual inaccuracy).3 Mayer argues that the

    Eleventh Circuit’s recent decision in Losch v. Nationstar Mortgage LLC, 995 F.3d 937

    (11th Cir. 2021) changes the balance here. In Losch, the Eleventh Circuit held that a

    CRA’s failure to report a bankruptcy discharge was a factual inaccuracy sufficient

    to support a FCRA claim. Losch, 995 F.3d at 945. The Eleventh Circuit held that,

    while CRAs are not required to resolve legal disputes, “there is no doubt that

    Losch’s mortgage was discharged.” Id. at 946.

           At the motion to dismiss stage, the Court entertained the possibility that,

    following Losch, Mayer might be able to establish a claim against HICV if enough

    courts had ruled against HICV’s interpretation of the contractual provision at

    issue. See Doc. 32 at 8. At that time, Mayer presented at least two state court cases

    had sided with parties asserting his interpretation of the contract. See id. at 7. No

    other background or cases were provided so the Court permitted the claim to

    proceed.




           3
              Although Batterman involved a CRA and not a furnisher, the Eleventh Circuit later held
    in Hunt that the same principle applies to claims against furnishers. See Hunt, 770 F. App’x at 458;
    see also Chiang, 595 F.3d at 38 (“In light of the parallel obligations imposed on CRAs and
    furnishers . . . that same rationale supports requiring a showing of actual inaccuracy in suits
    against furnishers.”). “Like CRAs, furnishers are ‘neither qualified nor obligated to resolve’
    matters that ‘turn[] on questions that can only be resolved by a court of law.’” Chiang, 595 F.3d at
    38. (quoting DeAndrade v. Trans Union LLC, 523 F.3d 61, 68 (1st Cir. 2008)).




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           Now, the Court has a different picture before it. In its Motion, HICV

    presents a string of cases where courts have sided with its interpretation of the

    contract, holding that, in contracts similar to Mayer’s, the liquidation provision

    did not excuse the obligation to keep paying. See, e.g., Holiday Inn Club Vacations

    Inc. v. Granger, 2018-CA-011778-O (Fla. 9th Cir. Ct. March 15, 2021) (summary

    judgment order awarding HICV a deficiency judgment against defendant based

    on a similar timeshare agreement).4 The conflicting outcomes in these cases only

    serve to emphasize that the underlying issue here is a legal dispute, not a factual

    one. If reasonable judges can differ on the proper interpretation of a contract like

    Mayer’s, the Court cannot fault HICV for holding to its litigation position when

    responding to credit reporting disputes. Accordingly, Mayer cannot establish a

    FCRA claim under the reasoning outlined in Losch unless a court rules on the

    validity of his specific debt. Therefore, Mayer’s claim is based on a legal dispute

    that is not actionable under the FCRA and HICV is entitled to summary judgment.

    See Hunt, 770 F. App’x at 458; see also Holden v. Holiday Inn Club Vacations Inc., No.

    6:20-cv-2373, 2022 WL 993572, at *3 (M.D. Fla. Feb. 28, 2022).



           4
             HICV cites to three other state court judgments where the court determined that HICV
    had the right to obtain any deficiency judgment against the defendants. HICV represents that
    those judgments were based on contracts like the one that Mayer signed. Those judgments do not
    discuss the contracts in any detail so the Court cannot verify that assertion. However, Mayer does
    not dispute that point or address any of these cases in his response. And the Granger case alone is
    enough to establish that a legal dispute exists here.




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          IV.   Conclusion

          Accordingly, it is hereby ORDERED that Defendant’s Motion for Summary

    Judgment (Doc. 35) is GRANTED. The Clerk is directed to enter judgment for

    Defendant Holiday Inn Club Vacations Inc. and close the case.

          DONE and ORDERED in Chambers, Orlando, Florida on April 21, 2022.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




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